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IN THE UNITEI) sTATEs DISTRICT COURT F"£D BY d£r‘l.j_ D-G
FoR THE WESTERN DISTRICT on TENNESSEE
WESTERN DIvIsIoN 95 JUL l l PH li= 05
GARDEN CITY BoXING CLUB, THOW\S lt GUD

CLERK U.S. D?STBECT COURT

INC.,A B ' , _`_, . -,
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June 8, 2002 LEWIS/TYSGN Program,
Plaintiff,
NO. 03-2451 B/An

V.

P & C CAFE, INC. d/b/a P & C CAFE
a/k/a AFTER r)ARK BAR & GRILL,
et al.,

Defendants.

 

REPORT AND RECOMMENDATION

 

On June 7, 2005, United States District Judge J. Daniel Breen referred this matter to the
Magistrate Judge for a report and recommendation on damages For the reasons set forth below,
the Court recommends Defendants be responsible for paying $6,722.50 in damages to Plaintiff.

BACKGROUND

 

On June l6, 2003, Plaintiff filed this action pursuant to 47 U.S.C. § 605(a) alleging that
Defendants illegally exhibited the June 8, 2002 LeWis/Tyson televised boxing program.
Defendants failed to Answer Plaintit`f" s Complaint or otherwise defend this action, and Judge
Breen has asked the Court to prepare a report and recommendation on damages

Plaintiff owned then rights to distribute the Levvis/Tyson program via closed circuit
television and encrypted satellite signal Without Plaintift"s authorization, Plaintiff alleges that

Defendants used an illegal satellite receiver or some illegal cable converter box or device to
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with ante se and/or 79(a} FacP on § / l Z-'OS

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intercept Plaintiff’s broadcast Plaintiff therefore argues that While Defendants knew that the
Lewis/Tyson fight was not to be exhibited without purchasing the rights to do so, Defendants
unlawfully intercepted, received or de-scrambled the satellite signal and exhibited the
Lewis/Tyson program for commercial advantage or private financial gain.

ln order to combat against the illegal exhibition of the closed circuit program, Plaintiff
hired Signal Piracy lnvestigations (“SPI”) to contract with independent auditors to investigate
establishments who Were not authorized to show the boxing match to the general public. On the
night of the Lewis/Tyson fight, Mr. Craig Pifer (“Pifer”), an independent auditor contracted by
SPI, visited the After Dark Café, located at 3347 Austin Peay Highway in Memphis, Shelby
County, Tennessee. Although the After Dark Cafe' was not authorized to exhibit the
Tyson/Lewis boxing match, the establishment nevertheless charged a Sl0.00 cover charge and
exhibited the boxing match on six televisions. Specifically, Pifer entered the the After Dark Café
at approximately 8:20 P.M., and he observed six television sets showing the .loel
Casamayor/Juan lose Arias undercard bout, one of the fights listed to occur on the closed-circuit
broadcast before the Lewis/Tyson main event. Pifer noticed between six and fifteen patrons in
the establishment at a time, and when Pifer left at 8:40 P.M., there was approximately 15 people
in the establishment

ANALYSIS

Plaintiff filed this action pursuant to 47 U.S.C. § 605, which provides, in pertinent part,
that “[n]o person not being authorized by the sender shall intercept any radio communication and
divulge or publish the . . . contents . . . of such intercepted communication to any person.” ln

other words, section 605(a) prohibits the unauthorized interception, receipt, exhibition,

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publication or use of radio communications, including the unlawful exhibition of satellite signals
illegally intercepted Because Defendants have not answered or otherwise responded to this
action, the Court Will accept Plaintiff’s allegations as true and find that Defendants violated 47
U.S.C. §605(21).

47 U.S.C. § 605(e)(3)(C)(i)(ll) allows statutory damages for “each violation of subsection
(a) of this section . . . in a sum not less than $l ,000 or more than $10,000, as the court considers
just . . . .” Moreover, if the Court finds that the statute was violated “willfully and for the
purpose of commercial advantage or private financial gain,” it may, in its discretion, award an
additional sum, up to 5100,000, for each violation [d. § 605(e)(3)(C)(ii). Section 605, however,
does not provide any guidelines for determining statutory damages; instead, the statute relies on
the Court to use its own case-by-case discretion See Garden Cin Boxing Club, Iriv. v. Gtambm,
No. 02-CV-839S, 2004 WL 1698633, at *3 (W.D.N.Y. July 27, 2004); Home Box Ojj”ice v.
Champs ofNew Haven, Inc., 837 F. Supp. 480, 484 (D. Conn. 1993).

ln deciding the amount of damages to impose, some courts have calculated statutory
damages based on the number of patrons in the establishment at the time of the violation See,
e.g., Entertaz`nment by.]& J, ]nc., v. Friends H, Inc., No. 02 Civ. SSS(JESRLE), 2003 WL
1990414, at *3 (S.D.N.Y. Apr. 25, 2003) (awarding 320 per patron based on sublicensin g fee per
potential patron); Enterz‘az'nmenz by .] & J, ]nc. v. Nina 's Resraurant and Caterz'ng, 0] Civ.
5483(KMWRLE), 2002 WL 1000286, at *3 (S.D.N.Y. May 9, 2002) (awarding 320 per patron);
T.ime Warner Cable OfNew York City v. Googies Luncheonerte, Inc., 77 F. Supp. 2d 485, 490
(S.D.N.Y. 1999) (awarding $50 per patron). On the other hand, other courts have imposed

damages in a flat amount regardless of the number of patrons in the establishment See, e.g.,

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Emertainment by J& .], Inc. v. Surt`el, 01 Civ. 11460(RO), 2003 WL 1090268, at *l (S.D.N.Y.
Mar. 1 ], 2003) (awarding $1 1,000); King Vt`sz`on Pay-Per- Vz`ew Corp., Lta’. v. Papacifo Lidr`cz
Luncheonette, ]nc., 01 Civ. 7575(LAK) (AJP), 2001 WL 1558269, at *2 (S.D.N.Y. Dec. 6, 2001)
(awarding $20,000); Kz'ngvision Pay-Per- View, Ltd. v. Jasper Groce)'y, 152 F. Supp. 2d 438, 442
(S.D.N.Y.2001) (awarding 315,000).

fn this case, Plaintiff seeks the maximum statutory damages of $10,000, plus enhanced
damages for wilfulness in the amount of $100,000, or a total of$110,000. (See Aff. & Mem. in
Supp. ofNotice of Mot. for Default Judgrnent, at 3-4). After consideration, the Court finds
Plaintiff should be awarded statutory damages dependent on the number of patrons inside the
After Dark Café. The Court recommends that Defendants should be assessed a SlOO statutory
penalty for each person unlawfully viewing the boxing match. Theref`ore, because when Pifer left
at 8:40 P.M. he saw 15 persons in the establishment, the Court recommends that Defendants
should be required to pay a statutory penalty of $1,500.00 to Plaintiff. Moreover, because the
Court has found that Defendants’ actions were willfu], the Court recommends that an additional
penalty of $3,500.00 should be imposed against the Defendants pursuant to 47 U.S.C. §
605(e)(3)(C)(ii).

Finally, 47 U.S.C. § 605(e)(3)(B)(iii) permits the Court to award “full costs, including
awarding reasonable attorneys’ fees to an aggrieved party who prevails.” ln its Memorandum,
Plaintiff lists Filing Fees of$150.00, Service of Process Fees of$185.00, and Attorney’s Fees of
$1,387.50, F or good cause shown, the Court recommends that Plaintiff be awarded the
reasonable fees and expenses associated with this action, or $1,722.50. Plaintiff also requests

prejudgment interest; however, there is no statutory basis for prejudgment interest in § 605(a).

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See DIRECTV, Inc. v. Montes, 338 F. Supp. 2d 352, 356 (D. Conn. 2004) (noting that “there is
no statutory basis in § 605" for prejudgment interest). Therefore, the request for prejudgment
interest should be denied.

For the reasons set forth above, the Court recommends that Plaintiff should be awarded
damages and other costs in the amount of $6,722.50. ANY OBJECTIONS OR EXCEPTIONS
TO THlS REPORT MUST BE FILED WITHIN TEN (10) DAYS FROM THE DATE OF
SERVICE OF THE REPORT. FAILURE TO FILE THEM WITHIN TEN (10) DAYS OF
SERVICE MAY CONSTITUTE A WAIVER OF OBJECTIONS, EXCEPTIONS, AND

FURTHER APPEAL.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Date: S:L¢,O.._\' D?; 2005/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:03-CV-02451 was distributed by fax, mail, or direct printing on
.luly 12, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

